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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION


ANTHONY BURNETT,

              Petitioner,

       V.                                                  CV 120-117


STATE BOARD OF PARDONS
AND PAROLES; et al.,

              Respondents.


                                         ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. (Doc. nos. 20,

22.) Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate

Judge as its opinion, DENIES AS MOOT Petitioner's motions to proceed in forma

pauperis,(doc. nos. 2, 6), and Motion for Dismissal of his state conviction,(doc. no. 12), and

DISMISSES the instant petition brought pursuant to 28 U.S.C. § 2254.

       A prisoner seeking relief under § 2254 must obtain a certificate of appealability

("CCA") before appealing the denial of his application for a writ of habeas corpus. This

Court "must issue or deny a certificate of appealability when it enters a final order adverse to

the applicant." Rule 11(a) to the Rules Governing Section 2254 Proceedings. This Court

should grant a COA only if the prisoner makes a "substantial showing of the denial of a
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constitutional right." 28 U.S.C. § 2253(c)(2). For the reasons set forth in the Report and

Recommendation, and in consideration of the standards enunciated in Slack v. McDaniel.

■529 U.S. 473, 482-84 (2000), Petitioner has failed to make the requisite showing.

Accordingly, the Court DENIES a COA in this case.' Moreover, because there are no non-

frivolous issues to raise on appeal, an appeal would not be taken in good faith, and Petitioner

is not entitled to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED this              day                      , 2020, at Augusta, Georgia.




                                            J. RA^ija^iALL/CfflEFJUDGE
                                            UNITED^ATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA




       '"If the court denies a certificate, the parties may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11 (a)
to the Rules Governing Section 2254 Proceedings.
